                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


                            )
STATE OF FLORIDA,           )
                            )
    Plaintiff,              )
                            )
    v.                      )                  Civil Action No. 3:23-cv-9962
                            )
ALEJANDRO MAYORKAS, et al., )
                            )
    Defendants.             )
                            )


                               [PROPOSED] ORDER

      Pending before the Court is Defendants’ motion to convert the Court’s

temporary restraining order (ECF. No. 10) into a preliminary injunction. Both

parties have had an opportunity to submit briefing on the issue, and having reviewed

all the relevant filings, and for good cause shown, it is HEREBY ORDERED:

      1.     The temporary restraining order issued on May 11, 2023 (ECF No. 10)

is hereby converted to a preliminary injunction. In entering this preliminary

injunction the Court relies on the four-factor test applicable to such motions,

including a finding that Plaintiff is likely to succeed on the merits of its claims. The

Court does not rest its decision on collateral estoppel, and reserves ruling on that

issue for another day.


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      2.     Defendants are hereby enjoined from implementing or enforcing the

parole policy contained in the May 10, 2023, Memorandum from U.S. Border Patrol

Chief Raul Ortiz, titled “Policy on Parole with Conditions in Limited Circumstances

Prior to Issuance of a Charging Document (Parole with Conditions),” pending final

resolution of this case.

      3.     Injunctions “should be ‘limited to the inadequacy that produced the

injury in fact that the plaintiff has established,’ and ‘no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.’” Georgia v.

President of the United States, 46 F.4th 1283, 1303 (11th Cir. 2022) (quoting Gill

v. Whitford, ––– U.S. ––––, 138 S. Ct. 1916 (2018)). Applying this principle, the

Eleventh Circuit has instructed “that a nationwide injunction may be issued in

appropriate circumstances” but “those appropriate circumstances are rare.” Id.at

1304. Especially when considering a request for relief “on a preliminary basis,”

courts must consider “whether the courts can offer complete relief to the plaintiffs

in federal regulatory challenges without issuing a nationwide injunction”—and

where “we can,” “we must.” Id. at 1306, 1308.

      Here, Florida asserts that the challenged policy will lead to “tens of

thousands” of individuals being “released,” some of whom “will likely make their

way to Florida,” requiring Florida to “expend funds” on them. ECF 2 at 5. However,

the challenged policy requires that “USBP must collect and document a physical


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address for each noncitizen processed via parole with conditions.” Parole with

Conditions Policy at 6. An injunction prohibiting DHS from paroling individuals

under the policy who report a Florida address thus will offer Florida “complete

relief” pending further litigation of its claims. In addition, the Court is aware of

other litigation challenging the policy at issue here, involving many States that are

not parties to this litigation. See Texas v. U.S. Dept. of Homeland Sec., 23-cv-7

(N.D. Tex.) (ECF No. 141, motion for TRO). 1 The Court is also mindful that the

Eleventh Circuit has instructed that this Court’s decision should not unnecessarily

prevent other courts from “weigh[ing] in so that the issues can percolate among the

courts.” Georgia, 46 F.4th at 1307.

      Accordingly, this order shall be limited to individuals considered for parole

under the Parole with Conditions policy who report an address in Florida. Given the

preliminary posture of this order, whose purpose “is not to conclusively determine

the rights of the parties,” this limitation appropriately “balance[s] the equities as the

litigation moves forward,” by “conside[ring] the overall public interest” and “the

exigencies of the particular case.” Trump v. Int'l Refugee Assistance Project, 582

U.S. 571, 579–80 (2017).



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 The Court is aware that Judge Tipton held a hearing in this case on May 12, 2023.
See ECF No. 143, Texas v. U.S. Dept. of Homeland Sec., 23-cv-7 (S.D. Tex.).
According to a minute entry dated May 12, 2023, the Court did not issue an order
addressing the motion for TRO.
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      4.     Plaintiff has alternatively requested that the Court convert the TRO

into a stay of the challenged policy under 5 U.S.C. § 705. Given that a preliminary

injunction adequately protects Plaintiff’s interests and that a section 705 stay

complicates proceedings unnecessarily, the Court denies the request.

      As several courts construing Section 705 have concluded, the phrase

“postpone the effective date” of an agency action authorizes the “postpone[ment of]

the effective date of a not yet effective rule, pending judicial review,” but not

suspension of a rule that is already in effect. See, e.g., Safety-Kleen Corp. v. EPA,

Nos. 92-1629, 92-1639, 1996 U.S. App. LEXIS 2324, at *2-3 (D.C. Cir. Jan. 19,

1996) (emphasis added); Ctr. for Biological Diversity v. Regan, No. CV 21-119

(RDM), 2022 WL 971067, at *21 (D.D.C. Mar. 30, 2022) (same, collecting cases);

Nat. Res. Def. Council v. U.S. Dep’t of Energy, 362 F. Supp. 3d 126, 151 (S.D.N.Y.

2019) (same); California v. U.S. Bureau of Land Mgmt., 277 F. Supp. 3d 1106, 1118

(N.D. Cal. 2017) (same); but see Texas v. Biden, No. 2:21-CV-067-Z, 2022 WL

17718634, at *8 (N.D. Tex. Dec. 15, 2022). While these cases address an agency

decision to “postpone the effective date,” Section 705 uses identical language when

referring to “the reviewing court ... postpon[ing] the effective date of an agency

action.” The use of an identical phrase in the first and second sentences of Section

705 must be presumed to be intentional. See, e.g., Sorenson v. Sec’y of Treasury,

475 U.S. 851, 860 (1986). Given its plain meaning, the language in Section 705


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allowing a court or agency to “postpone the effective date” can only be read to mean

that the statute allows the court “to put off until a future time,” “defer,” or “delay”

the “operative” date of the agency action. See MERRIAM-WEBSTER

DICTIONARY,         https://www.merriam-webster.com/dictionary/postpone           (last

visited    May       14,     2023);     MERRIAMWEBSTER               DICTIONARY,

https://www.merriam-webster.com/dictionary/effective (last visited May 14,

2023); see also BLACK’S LAW DICTIONARY ONLINE (2d. Ed.) (defining

“postpone” as “to put off; defer; delay; continue”). One cannot “defer” or “put off”

an action that has already occurred; thus, the statute does not permit the issuance of

a stay after the operative date of the challenged rule has already passed. Here,

because the challenged policy went into effect before the court issued its TRO order,

the Court could not “stay” its effective date under 5 U.S.C. § 705. Because of the

complications raised by Plaintiff’s separate request to issue a section 705 stay, the

court declines to enter a section 705 stay and instead simply converts its TRO order

into an order for a preliminary injunction.

      5.      The Court is mindful of the parties’ stipulation submitted Sunday,

May 14 (ECF No. 16) concerning evidence from the trial record in Florida v. United

States, No. 21-cv-1066 (N.D. Fla.). In issuing this order, the Court has not

considered any evidence submitted in that case with respect to the merits of the

claims addressed in that case in assessing the legality under the Administrative


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Procedure Act (APA) of the Parole with Conditions policy in this case. As the Court

has explained, “[j]udicial review of agency action under the APA is typically

limited to the record before the agency when it took the challenged action.” ECF

No. 55 at 2, Florida v. United States, No. 21-cv-1066 (N.D. Fla. June 6, 2022).

Unlike in Florida v. United States, No. 21-cv-1066, in this case Florida advances

only APA claims, and so there is no basis to look outside of the four corners of the

Parole with Conditions policy in assessing Plaintiff’s likelihood of success on their

APA claims. See Dep't of Com. v. New York, 139 S. Ct. 2551, 2574 (2019); see also,

e.g., Nat’l Pork Producers Council v. Bergland, 631 F.2d 1353 (8th Cir. 1980); Ctr.

for a Sustainable Coast v. United States Army Corps of Engineers, No. 2:19-CV-

58, 2022 WL 202893, at *4 (S.D. Ga. Jan. 21, 2022). If and when Defendants submit

an administrative record as the case proceeds, the Court will assess the policy anew

based on that record. All the Court is holding now is that based on the information

contained in the Parole with Conditions memorandum, Plaintiffs have demonstrated

a likelihood of success on the merits of their APA claims.

      6.     [The Court has reviewed Defendants’ response to the order to show

cause. The Court is satisfied with Defendants’ submissions and explanation.]2 At



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  Defendants propose this language for the Court’s consideration after it has
reviewed Defendants’ response to the order to show cause. As will be set forth in
that response, Defendants respectfully suggest there is no basis to conclude that the
Court’s TRO was not followed.
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this time the Court therefore declines to order Defendants to engage in any

reporting. Should Plaintiff have any reason to revisit this order, it shall first confer

with Defendants and attempt to resolve any disputes before filing anything with the

Court.

         7.   [This order is STAYED for 7 days from this date to allow Defendants

to seek appellate review.]3

         DONE and ORDERED this ___ day of May, 2023.



                                        _________________________________
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE




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  Defendants respectfully submit this additional language for the Court’s
consideration in the event it concludes an administrative stay is warranted, as
Defendants have requested.
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Date: May 15, 2023                 Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 15, 2023, I electronically filed the
foregoing with the Clerk of the Court using CM/ECF, which provided an electronic
notice and electronic link of the same to all attorneys of record.

                                        By: /s/ Sarah B. Fabian
                                        SARAH B. FABIAN
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